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 1                                                     Judge Franklin D. Burgess
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 7
                              UNITED STATES DISTRICT COURT
 8                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
 9

10   UNITED STATES OF AMERICA,                 )
                                               )       NO. CR06-5061FDB
11                         Plaintiff,          )
                                               )       ORDER
12                                             )       GRANTING AGREED
                   v.                          )       MOTION TO CONTINUE
13                                             )       TRIAL DATE AND
     TROY DONTE THURMAN,                       )       PRETRIAL MOTIONS DATE
14                                             )
                           Defendant.          )
15                                                 )
16          Upon the agreed motion of the parties to continue the trial and pretrial motions due
17   date in the above-captioned case, and based upon the facts set forth in that motion, which
18   are hereby incorporated by reference and adopted as findings of fact, the Court finds that a
19   failure to grant the continuance would deny counsel the reasonable time necessary for
20   effective preparation, taking into account the exercise of due diligence, within the meaning
21   of 18 U.S.C. § 3161(h)(8)(B)(ii). The Court further finds that such a continuance would
22   serve the ends of justice and outweigh the best interests of the public and the defendant in
23   a speedy trial; therefore,
24          IT IS HEREBY ORDERED that the trial date be continued to October 2, 2006.
25   The period of delay resulting from this continuance from July 14, 2006, up to and
26   including the new trial date of October 2, 2006, is hereby excluded for speedy trial
27   purposes under 18 U.S.C. § 3161(h)(8)(A) and (B) for the purpose of computing the time
28   limitations imposed by the Speedy Trial Act, 18 U.S.C. § 3161-3174.

     [PROPOSED] ORDER GRANTING AGREED MOTION TO CONTINUE                           UNITED STATES ATTORNEY
                                                                                   1201 Pacific Avenue, Suite 700
     U.S. v. Thurman/CR06-5061FDB - 1                                               Tacoma, Washington 98402
                                                                                          (253) 428-3800
            Case 3:06-cr-05061-BHS       Document 55   Filed 06/30/06   Page 2 of 2



 1         IT IS FURTHER ORDERED that the pretrial motions due date be extended to
 2   July 28, 2006.
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           DATED this 30th day of June, 2006.
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                                              FRANKLIN D. BURGESS
11                                            UNITED STATES DISTRICT JUDGE

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     Presented by:
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16
     s/ Michael Dion
     MICHAEL DION
17   Assistant United States Attorney
18

19   s/ Michael Schwartz (per telephonic auth.)
     MICHAEL SCHWARTZ
20   Attorney for Defendant
     Troy Donte Thurman
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     [PROPOSED] ORDER GRANTING AGREED MOTION TO CONTINUE                    UNITED STATES ATTORNEY
                                                                            1201 Pacific Avenue, Suite 700
     U.S. v. Thurman/CR06-5061FDB - 2                                        Tacoma, Washington 98402
                                                                                   (253) 428-3800
